                  Case 13-41857-pwb                             Doc 1          Filed 06/28/13 Entered 06/28/13 14:13:48                                                    Desc Main 6/28/13 2:15PM
                                                                               Document     Page 1 of 58
B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                          Northern District of Georgia                                                                             Voluntary Petition
           }
           b
           k
           1
           {
           F
           o
           r
           m
           .
           V
           l
           u
           n
           t
           a
           y
           P
           e
           i




 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Carroll, Michael Patrick


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-4162
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  11 Misty Hollow Court
  Euharlee, GA
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         30145-2732
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Bartow
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information          *** Wade H. Everett 253067 ***                                                                            THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
             Case 13-41857-pwb                     Doc 1        Filed 06/28/13 Entered 06/28/13 14:13:48                                          Desc Main 6/28/13 2:15PM
                                                                Document     Page 2 of 58
B1 (Official Form 1)(04/13)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Carroll, Michael Patrick
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Wade H. Everett                                      June 28, 2013
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Wade H. Everett 253067

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
             Case 13-41857-pwb                       Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                                       Desc Main 6/28/13 2:15PM
                                                                   Document     Page 3 of 58
B1 (Official Form 1)(04/13)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Carroll, Michael Patrick
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Michael Patrick Carroll                                                          X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Michael Patrick Carroll

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 28, 2013
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Wade H. Everett
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Wade H. Everett 253067                                                                   debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Wade H. Everett, P.C.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      202 S. Erwin Street
      Suite 101                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      Cartersville, GA 30120-3514                                                              an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                           Email: wade@wadeeverett.com
      770 386 6302 Fax: 770 386 6305
     Telephone Number
     June 28, 2013
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
            Case 13-41857-pwb                         Doc 1          Filed 06/28/13 Entered 06/28/13 14:13:48      Desc Main
                                                                     Document     Page 4 of 58                                  6/28/13 2:15PM




B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      Michael Patrick Carroll                                                                 Case No.
                                                                                 Debtor(s)          Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy
             Case 13-41857-pwb                             Doc 1       Filed 06/28/13 Entered 06/28/13 14:13:48    Desc Main
                                                                       Document     Page 5 of 58                               6/28/13 2:15PM




B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                Page 2

                        Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
             mental deficiency so as to be incapable of realizing and making rational decisions with respect to
             financial responsibilities.);
                        Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
             unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
             through the Internet.);
                        Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:          /s/ Michael Patrick Carroll
                                                                                     Michael Patrick Carroll
                                                       Date:         June 28, 2013




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1          Filed 06/28/13 Entered 06/28/13 14:13:48                        Desc Main
                                                                     Document     Page 6 of 58                                                         6/28/13 2:15PM


B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re       Michael Patrick Carroll                                                                           Case No.
                                                                                 Debtor(s)                     Chapter        7

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $12,311.55                            2013 Income per Pay Stubs
                          $33,444.00                            2012 Income per Joint Tax Return
                          $34,728.00                            2011 Income per Joint Tax Return
                          $40,229.00                            2010 Income per Joint Tax Return
                          $35,907.00                            2009 Income per Joint Tax Return
                          $4,282.37                             2013 Income per Pay Stubs (Non-Filing Spouse)




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
             Case 13-41857-pwb                        Doc 1          Filed 06/28/13 Entered 06/28/13 14:13:48                     Desc Main
                                                                     Document     Page 7 of 58                                                      6/28/13 2:15PM




B7 (Official Form 7) (04/13)
2
               2. Income other than from employment or operation of business

      None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                                 SOURCE

               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                        DATES OF                                                       AMOUNT STILL
     OF CREDITOR                                                         PAYMENTS                             AMOUNT PAID                  OWING
 SunTrust Mortgage Inc.                                                  6/2013, 5/2013 & 4/2013                $2,105.55                $84,747.03
 Correspondence RVW3003
 Richmond, VA 23260-6149

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                         DATES OF                                   PAID OR
                                                                         PAYMENTS/                                VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                            TRANSFERS                               TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                             DATE OF PAYMENT                      AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                        NATURE OF        COURT OR AGENCY                                  STATUS OR
 AND CASE NUMBER                                                        PROCEEDING       AND LOCATION                                     DISPOSITION
 Publix Employees Federal Credit Union                                  Civil            Superior Court of Bartow County                  Pending
 v                                                                                       135 W. Cherokee Avenue
 Michael P. Carroll                                                                      Cartersville, GA 30120
 13CV1324



  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1          Filed 06/28/13 Entered 06/28/13 14:13:48                     Desc Main
                                                                     Document     Page 8 of 58                                                     6/28/13 2:15PM




B7 (Official Form 7) (04/13)
3
   None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                          DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                          DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                       DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                     FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                    TRANSFER OR RETURN               PROPERTY
 Family Savings FCU                                                  06/2012                    Defficiency in Repossessed Vehicle - 2005
 205 Douthit Ferry Rd.                                                                          Chevrolet Silverado 2500 HD Crew Cab
 Cartersville, GA 30120

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                 TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                  DATE OF GIFT            VALUE OF GIFT
 Trinity Chapel Church of God                                  None                             Various                approx. $2,100

 Immanuel Broadcasting Network                                 None                             Various                approx. $2100
 779 S. Erwin Street
 Cartersville, GA 30120




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1          Filed 06/28/13 Entered 06/28/13 14:13:48                     Desc Main
                                                                     Document     Page 9 of 58                                                      6/28/13 2:15PM




B7 (Official Form 7) (04/13)
4
               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                            DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                            DATE OF PAYMENT,                               AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                        OR DESCRIPTION AND VALUE
     OF PAYEE                                                                  THAN DEBTOR                                     OF PROPERTY
 Wade H. Everett, P.C.                                                   Various                                      $1500 Attorney Fee
 202 S. Erwin Street                                                                                                  $35 Credit Report
 Suite 101                                                                                                            $306 Filing Fee
 Cartersville, GA 30120-3514                                                                                          $35 Debt Counseling
                                                                                                                      $15 Finanical Management

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
       RELATIONSHIP TO DEBTOR                                           DATE                           AND VALUE RECEIVED
 Jack Henderson                                                         04/07/2013              Homesteader Enclosed Trailer $2,500

     None

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                        TRANSFER(S)             IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                          TYPE OF ACCOUNT, LAST FOUR
                                                                           DIGITS OF ACCOUNT NUMBER,                   AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                            OR CLOSING
 WAMU/Chase                                                              Checking                                      02/2012 Negative had to add
                                                                                                                       money to close




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                      Desc Main
                                                                     Document      Page 10 of 58                                                     6/28/13 2:15PM




B7 (Official Form 7) (04/13)
5
               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                            DATE OF SETOFF                                 AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                 NAME USED                                      DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                     DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                       NOTICE                        LAW


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                      Desc Main
                                                                     Document      Page 11 of 58                                                     6/28/13 2:15PM




B7 (Official Form 7) (04/13)
6
   None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                     DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                       NOTICE                        LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                  STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN               ADDRESS                     NATURE OF BUSINESS               ENDING DATES
 Pepperidge Farm                   xxx-xx-4162                                                    Route Sales                      11/2009-02/2012
 Route Sales

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                    ADDRESS




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                          Desc Main
                                                                     Document      Page 12 of 58                                                          6/28/13 2:15PM




B7 (Official Form 7) (04/13)
7
                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date June 28, 2013                                                      Signature   /s/ Michael Patrick Carroll
                                                                                     Michael Patrick Carroll
                                                                                     Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                  Desc Main 6/28/13 2:15PM
                                                                       Document      Page 13 of 58
B6A (Official Form 6A) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          A
          -
          R
          a
          P
          r
          o
          p
          t
          y




  In re         Michael Patrick Carroll                                                                          Case No.
                                                                                                     ,
                                                                                       Debtor

                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                     Husband,    Current Value of
                                                                             Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                         Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                    Community Deducting  any Secured
                                                                                                                Claim or Exemption

Personal Home Located at: 11 Misty Hollow Court,                                                         -                  71,035.00                 83,803.00
Euharlee, GA 30145-2732




                                                                                                     Sub-Total >            71,035.00        (Total of this page)

                                                                                                             Total >        71,035.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                     (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                         Desc Main 6/28/13 2:15PM
                                                                       Document      Page 14 of 58
B6B (Official Form 6B) (12/07)


          }
          k
          b
          {
          1
          S
          c
          h
          e
          d
          u
          l
          B
          -
          P
          r
          s
          o
          n
          a
          p
          t
          y




  In re         Michael Patrick Carroll                                                                              Case No.
                                                                                                         ,
                                                                                        Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                X
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                           Checking - Wells Fargo                                            -                              0.00
      utilities, telephone companies,
      landlords, and others.                                  Savings - Publix Credit Union                                     -                            30.00

4.    Household goods and furnishings,                        Bedroom # 1 Furniture                                             -                           200.00
      including audio, video, and
      computer equipment.                                     Bedroom # 2 Furniture                                             -                            50.00

                                                              Living Room Furniture                                             -                           100.00

                                                              Dining Table & Chairs                                             -                            30.00

                                                              Office                                                            -                            20.00

                                                              Computer                                                          -                            50.00

                                                              (2) TV's                                                          -                           150.00

                                                              DVD/VCR Combo                                                     -                            20.00

                                                              Refrigerator                                                      -                           100.00

                                                              Washer & Dryer                                                    -                           100.00

                                                              Stove                                                             -                            50.00

                                                              Misc. Household Items &/or Decor                                  -                           300.00




                                                                                                                                Sub-Total >            1,200.00
                                                                                                                    (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                        Desc Main 6/28/13 2:15PM
                                                                       Document      Page 15 of 58
B6B (Official Form 6B) (12/07) - Cont.




  In re         Michael Patrick Carroll                                                                             Case No.
                                                                                                        ,
                                                                                       Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Clothing & Accessories                                           -                           200.00

7.    Furs and jewelry.                                       Wedding Band                                                     -                            50.00

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.



                                                                                                                               Sub-Total >              250.00
                                                                                                                   (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                        Desc Main 6/28/13 2:15PM
                                                                       Document      Page 16 of 58
B6B (Official Form 6B) (12/07) - Cont.




  In re         Michael Patrick Carroll                                                                             Case No.
                                                                                                        ,
                                                                                       Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        1993 Ford Ranger - Manual Transmission - No Air-                 -                           900.00
    other vehicles and accessories.                           (280,000 miles)

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.


                                                                                                                               Sub-Total >              900.00
                                                                                                                   (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                         Desc Main 6/28/13 2:15PM
                                                                       Document      Page 17 of 58
B6B (Official Form 6B) (12/07) - Cont.




  In re         Michael Patrick Carroll                                                                             Case No.
                                                                                                        ,
                                                                                       Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                       Riding Lawn Mower, Weed Trimmer, Misc. Hand                       -                          350.00
    not already listed. Itemize.                              Tools & Grill




                                                                                                                               Sub-Total >              350.00
                                                                                                                   (Total of this page)
                                                                                                                                    Total >           2,700.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                           (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                 Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                               Desc Main 6/28/13 2:15PM
                                                                        Document      Page 18 of 58
 B6C (Official Form 6C) (4/13)


           E
           }
           x
           b
           e
           k
           m
           1
           p
           {
           t
           S
           c
           h
           d
           u
           l
           C
           -
           P
           r
           o
           y
           a
           i
           s




   In re         Michael Patrick Carroll                                                                              Case No.
                                                                                                          ,
                                                                                        Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                        Value of                 Current Value of
                   Description of Property                                         Each Exemption                            Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Security Deposits with Utilities, Landlords, and Others
Savings - Publix Credit Union                        O.C.G.A. § 44-13-100(a)(6)                                                         30.00                            30.00

Household Goods and Furnishings
Bedroom # 1 Furniture                                                     O.C.G.A. § 44-13-100(a)(4)                                  200.00                           200.00

Bedroom # 2 Furniture                                                     O.C.G.A. § 44-13-100(a)(4)                                    50.00                            50.00

Living Room Furniture                                                     O.C.G.A. § 44-13-100(a)(4)                                  100.00                           100.00

Dining Table & Chairs                                                     O.C.G.A. § 44-13-100(a)(4)                                    30.00                            30.00

Office                                                                    O.C.G.A. § 44-13-100(a)(4)                                    20.00                            20.00

Computer                                                                  O.C.G.A. § 44-13-100(a)(4)                                    50.00                            50.00

(2) TV's                                                                  O.C.G.A. § 44-13-100(a)(4)                                  150.00                           150.00

DVD/VCR Combo                                                             O.C.G.A. § 44-13-100(a)(4)                                    20.00                            20.00

Refrigerator                                                              O.C.G.A. § 44-13-100(a)(4)                                  100.00                           100.00

Washer & Dryer                                                            O.C.G.A. § 44-13-100(a)(4)                                  100.00                           100.00

Stove                                                                     O.C.G.A. § 44-13-100(a)(4)                                    50.00                            50.00

Misc. Household Items &/or Decor                                          O.C.G.A. § 44-13-100(a)(4)                                  300.00                           300.00

Wearing Apparel
Clothing & Accessories                                                    O.C.G.A. § 44-13-100(a)(4)                                  200.00                           200.00

Furs and Jewelry
Wedding Band                                                              O.C.G.A. § 44-13-100(a)(5)                                    50.00                            50.00

Automobiles, Trucks, Trailers, and Other Vehicles
1993 Ford Ranger - Manual Transmission - No                               O.C.G.A. § 44-13-100(a)(3)                                  900.00                           900.00
Air- (280,000 miles)

Other Personal Property of Any Kind Not Already Listed
Riding Lawn Mower, Weed Trimmer, Misc. Hand       O.C.G.A. § 44-13-100(a)(6)                                                          350.00                           350.00
Tools & Grill




                                                                                                          Total:                    2,700.00                         2,700.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                 Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                              Desc Main 6/28/13 2:15PM
                                                                          Document      Page 19 of 58
 B6D (Official Form 6D) (12/07)


           }
           e
           b
           c
           k
           u
           1
           r
           {
           S
           d
           h
           C
           l
           a
           i
           m
           s
           D
           -
           t
           o
           H
           n
           g




   In re         Michael Patrick Carroll                                                                                       Case No.
                                                                                                                  ,
                                                                                                  Debtor

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                             O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT          UNSECURED
            INCLUDING ZIP CODE,                              B   W            NATURE OF LIEN, AND                          I    Q   U                        PORTION, IF
                                                             T   J          DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                           DEDUCTING
           AND ACCOUNT NUMBER                                O                                                             G    I   E       VALUE OF            ANY
             (See instructions above.)
                                                                 C               OF PROPERTY
                                                             R
                                                                                SUBJECT TO LIEN
                                                                                                                           E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. xxxxxx9144                                               Mortgage                                                   E
                                                                                                                                D

SunTrust Mortgage Inc.                                               Personal Home Located at: 11 Misty
Correspondence RVW3003                                               Hollow Court, Euharlee, GA 30145-2732
Richmond, VA 23260-6149
                                                            X J

                                                                        Value $                            71,035.00                         83,803.00             12,768.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
                                                                                                                        Subtotal
 0
_____ continuation sheets attached                                                                                                           83,803.00             12,768.00
                                                                                                               (Total of this page)
                                                                                                                          Total              83,803.00             12,768.00
                                                                                                (Report on Summary of Schedules)

 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                                       Desc Main 6/28/13 2:15PM
                                                                       Document      Page 20 of 58
B6E (Official Form 6E) (4/13)


          }
          n
          b
          s
          k
          e
          1
          c
          {
          u
          S
          r
          h
          d
          P
          l
          i
          o
          E
          t
          -
          y
          C
          a
          m
          H
          g
          U




  In re         Michael Patrick Carroll                                                                                            Case No.
                                                                                                                      ,
                                                                                                Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             0         continuation sheets attached
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                 Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                                   Desc Main 6/28/13 2:15PM
                                                                        Document      Page 21 of 58
 B6F (Official Form 6F) (12/07)


           }
           n
           b
           s
           k
           e
           1
           c
           {
           u
           S
           r
           h
           d
           N
           o
           l
           p
           F
           i
           -
           C
           t
           y
           a
           m
           H
           g
           U




   In re         Michael Patrick Carroll                                                                                 Case No.
                                                                                                                 ,
                                                                                               Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U    D
                   CREDITOR'S NAME,                                     O                                                                   O   N    I
                   MAILING ADDRESS                                      D   H                                                               N   L    S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I    P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q    U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                        T   J                                                               N   U    T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I    E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D    D
                                                                                                                                            N   A
Account No. xxx-xxxxxx2-000                                                     Trade debt                                                  T   T
                                                                                                                                                E
                                                                                                                                                D

Banc of America Leasing & Capital
231 S. LaSalle Street                                                       -
Chicago, IL 60697

                                                                                                                                                                     39,000.00
Account No. xxxxxxxxxxxx9355                                                    Opened 10/08/03 Last Active 11/01/03
                                                                                Credit Card
Cap One
Po Box 85520                                                                -
Richmond, VA 23285

                                                                                                                                                                             0.00
Account No. xxxxxx-xxxxxx4977                                                   Opened 9/05/09 Last Active 2/04/10
                                                                                Charge Account
Cap1/Bstby
26525 N Riverwoods Blvd                                                     -
Mettawa, IL 60045

                                                                                                                                                                             0.00
Account No. xxxxxxxxxxxx5239                                                    Opened 2/27/03 Last Active 7/26/07
                                                                                Credit Card
Chase
Po Box 15298                                                                -
Wilmington, DE 19850

                                                                                                                                                                             0.00

                                                                                                                                        Subtotal
 4
_____ continuation sheets attached                                                                                                                                   39,000.00
                                                                                                                              (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                     S/N:35776-130620   Best Case Bankruptcy
                 Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                           Desc Main 6/28/13 2:15PM
                                                                        Document      Page 22 of 58
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Michael Patrick Carroll                                                                             Case No.
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U    D
                   CREDITOR'S NAME,                                     O                                                           O   N    I
                   MAILING ADDRESS                                      D   H                                                       N   L    S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                        B                                                           I   Q    U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                  (See instructions above.)                             R                                                           E   D    D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxx1102                                                      Opened 11/27/02 Last Active 9/01/05                     E
                                                                                FHA Real Estate Mortgage                                D

Citimortgage Inc
Po Box 9438                                                                 -
Gaithersburg, MD 20898

                                                                                                                                                                    0.00
Account No. xxxxx3558                                                           Credit card purchases

Credit First N.A.
P.O. Box 81344                                                              -
Cleveland, OH 44188-0344

                                                                                                                                                              1,924.00
Account No. xxx5596                                                             Opened 8/13/12 Last Active 2/01/10
                                                                                Collection Attorney At T Mobility
Eos Cca
700 Longwater Dr                                                            -
Norwell, MA 02061

                                                                                                                                                                143.00
Account No. xxxxx16-03                                                          Personal Loan

Family Savings Credit Union
711 East Meighan Blvd.                                                      -
Gadsen, AL 35903

                                                                                                                                                              2,536.28
Account No. xxxxx16-01                                                          Defficiency in Repossessed Vehicle

Family Savings Credit Union
711 East Meighan Blvd.                                                      -
Gadsen, AL 35903

                                                                                                                                                              6,690.06

           1
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                            11,293.34
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                 Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                           Desc Main 6/28/13 2:15PM
                                                                        Document      Page 23 of 58
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Michael Patrick Carroll                                                                             Case No.
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U    D
                   CREDITOR'S NAME,                                     O                                                           O   N    I
                   MAILING ADDRESS                                      D   H                                                       N   L    S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                        B                                                           I   Q    U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                  (See instructions above.)                             R                                                           E   D    D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx9404                                                    Opened 12/02/08 Last Active 6/21/12                     E
                                                                                Charge Account                                          D

Gecrb/Discount Tire
Po Box 981439                                                               -
El Paso, TX 79998

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx4499                                                    Opened 2/26/10 Last Active 4/23/10
                                                                                Credit Card
Gecrb/Gapdc
Po Box 965005                                                               -
Orlando, FL 32896

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx7511                                                    Opened 3/29/07 Last Active 12/29/11
                                                                                Charge Account
Gecrb/Lowes
Po Box 965005                                                               -
Orlando, FL 32896

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx1594                                                    Opened 9/07/08 Last Active 1/07/10
                                                                                Charge Account
Gecrb/Pearle Vision
Po Box 981439                                                               -
El Paso, TX 79998

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx9430                                                    Opened 1/09/08 Last Active 2/03/08
                                                                                Credit Card
Gecrb/Stein Mart Dc
Po Box 981416                                                               -
El Paso, TX 79998

                                                                                                                                                                    0.00

           2
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                                    0.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                 Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                           Desc Main 6/28/13 2:15PM
                                                                        Document      Page 24 of 58
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Michael Patrick Carroll                                                                             Case No.
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U    D
                   CREDITOR'S NAME,                                     O                                                           O   N    I
                   MAILING ADDRESS                                      D   H                                                       N   L    S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                        B                                                           I   Q    U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                  (See instructions above.)                             R                                                           E   D    D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxx5427                                                          Opened 2/05/03 Last Active 9/12/03                      E
                                                                                Charge Account                                          D

Jared-Galleria Of Jwlr
375 Ghent Rd                                                                -
Fairlawn, OH 44333

                                                                                                                                                                    0.00
Account No. xxxxxxxxx7420                                                       Opened 10/15/00 Last Active 12/10/08
                                                                                Charge Account
Mcydsnb
9111 Duke Blvd                                                              -
Mason, OH 45040

                                                                                                                                                                    0.00
Account No. Michael Carroll                                                     Trade debt

Pepperidge Farm Incorporated
595 Westport Avenue                                                         -
Norwalk, CT 06851-4482

                                                                                                                                                             Unknown
Account No. xxxxxx00-23                                                         Personal Loan

Publix Employees FCU
P.O. Box 1000                                                               -
Lakeland, FL 33802-1000

                                                                                                                                                              6,533.00
Account No. xxxxxx9007                                                          Opened 10/12/09 Last Active 11/13/09
                                                                                Secured Credit Card
Sheffield Financial Co
2554 Lewisville Clemmons                                                    -
Clemmons, NC 27012

                                                                                                                                                                    0.00

           3
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                              6,533.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                 Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                                  Desc Main 6/28/13 2:15PM
                                                                        Document      Page 25 of 58
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Michael Patrick Carroll                                                                                   Case No.
                                                                                                                  ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U    D
                   CREDITOR'S NAME,                                     O                                                                  O   N    I
                   MAILING ADDRESS                                      D   H                                                              N   L    S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                        T   I    P
                                                                        B                                                                  I   Q    U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U    T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I    E
                  (See instructions above.)                             R                                                                  E   D    D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxxxxx5604                                                          Opened 11/12/09 Last Active 6/09/10                            E
                                                                                Secured Credit Card                                            D

Sheffield Financial Co
2554 Lewisville Clemmons                                                    -
Clemmons, NC 27012

                                                                                                                                                                           0.00
Account No. xxxxxxxxxxxx1710                                                    Opened 9/13/05 Last Active 6/02/13
                                                                                Credit Card
Td Bank Usa/Targetcred
Po Box 673                                                                  -
Minneapolis, MN 55440

                                                                                                                                                                         73.00
Account No. xxxxxxxxxxxx1906                                                    Opened 6/26/09 Last Active 7/23/09
                                                                                Charge Account
Thd/Cbna
Po Box 6497                                                                 -
Sioux Falls, SD 57117

                                                                                                                                                                           0.00
Account No. xxxx-xxxx-xxxx-8117                                                 Credit card purchases

Wells Fargo Card Services
P.O. Box 6412                                                               -
Carol Stream, IL 60197-6412

                                                                                                                                                                     7,248.00
Account No.




           4
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                     7,321.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)                  64,147.34


 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                   Case 13-41857-pwb                      Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                      Desc Main 6/28/13 2:15PM
                                                                       Document      Page 26 of 58
B6G (Official Form 6G) (12/07)


           a
           }
           n
           b
           d
           k
           1
           U
           {
           S
           e
           c
           x
           h
           p
           i
           r
           u
           l
           L
           G
           -
           s
           E
           t
           o
           y
           C




  In re             Michael Patrick Carroll                                                                     Case No.
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48              Desc Main 6/28/13 2:15PM
                                                                       Document      Page 27 of 58
B6H (Official Form 6H) (12/07)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           H
           -
           C
           o
           t
           r
           s




  In re          Michael Patrick Carroll                                                                 Case No.
                                                                                               ,
                                                                                   Debtor

                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR

                  Jessica Carroll                                                     SunTrust Mortgage Inc.
                  11 Misty Hollow Court                                               Correspondence RVW3003
                  Kingston, GA 30145-2732                                             Richmond, VA 23260-6149




       0
               continuation sheets attached to Schedule of Codebtors
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
          Case 13-41857-pwb                Doc 1       Filed 06/28/13 Entered 06/28/13 14:13:48                             Desc Main
                                                      Document      Page 28 of 58                                                           6/28/13 2:15PM




B6I (Official Form 6I) (12/07)
 In re    Michael Patrick Carroll                                                                       Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         6

Employment:                                               DEBTOR                                                   SPOUSE
Occupation
Name of Employer                    Publix Super Markets Inc.
How long employed                   7 months
Address of Employer                 P.O. Box 407
                                    Lakeland, FL 33802-0407
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       2,131.44         $          872.74
2. Estimate monthly overtime                                                                             $           0.00         $            0.00

3. SUBTOTAL                                                                                              $         2,131.44       $          872.74


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             152.66     $          121.02
     b. Insurance                                                                                        $             446.29     $            0.00
     c. Union dues                                                                                       $               0.00     $            0.00
     d. Other (Specify):       United Way                                                                $               8.67     $            0.00
                                                                                                         $               0.00     $            0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             607.62     $          121.02

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         1,523.82       $          751.72

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $              0.00
8. Income from real property                                                                             $               0.00     $              0.00
9. Interest and dividends                                                                                $               0.00     $              0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $              0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $              0.00
                                                                                                         $               0.00     $              0.00
12. Pension or retirement income                                                                         $               0.00     $              0.00
13. Other monthly income
(Specify):                                                                                               $               0.00     $              0.00
                                                                                                         $               0.00     $              0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $               0.00     $              0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,523.82       $          751.72

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            2,275.54
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Case 13-41857-pwb           Doc 1      Filed 06/28/13 Entered 06/28/13 14:13:48                         Desc Main
                                               Document      Page 29 of 58                                                   6/28/13 2:15PM




B6J (Official Form 6J) (12/07)
 In re    Michael Patrick Carroll                                                             Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                    701.85
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                    220.00
                   b. Water and sewer                                                                       $                     32.00
                   c. Telephone                                                                             $                     89.00
                   d. Other See Detailed Expense Attachment                                                 $                     70.60
3. Home maintenance (repairs and upkeep)                                                                    $                      0.00
4. Food                                                                                                     $                    400.00
5. Clothing                                                                                                 $                      0.00
6. Laundry and dry cleaning                                                                                 $                      0.00
7. Medical and dental expenses                                                                              $                     20.00
8. Transportation (not including car payments)                                                              $                    300.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                      0.00
10. Charitable contributions                                                                                $                    240.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                      0.00
                   b. Life                                                                                  $                      0.00
                   c. Health                                                                                $                     24.00
                   d. Auto                                                                                  $                     97.00
                   e. Other                                                                                 $                      0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                      0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                       0.00
                   b. Other                                                                                 $                       0.00
                   c. Other                                                                                 $                       0.00
14. Alimony, maintenance, and support paid to others                                                        $                       0.00
15. Payments for support of additional dependents not living at your home                                   $                       0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                       0.00
17. Other                                                                                                   $                       0.00
    Other                                                                                                   $                       0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 2,194.45
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 2,275.54
b. Average monthly expenses from Line 18 above                                                              $                 2,194.45
c. Monthly net income (a. minus b.)                                                                         $                    81.09
         Case 13-41857-pwb          Doc 1    Filed 06/28/13 Entered 06/28/13 14:13:48       Desc Main
                                            Document      Page 30 of 58                                 6/28/13 2:15PM




B6J (Official Form 6J) (12/07)
 In re    Michael Patrick Carroll                                            Case No.
                                                          Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                             Detailed Expense Attachment
Other Utility Expenditures:
Cell Phone                                                                              $                    60.00
Other                                                                                   $                    10.60
Total Other Utility Expenditures                                                        $                    70.60
                Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                Desc Main 6/28/13 2:15PM
                                                                       Document      Page 31 of 58
B6 Summary (Official Form 6 - Summary) (12/07)


          }
          b
          k
          1
          {
          F
          o
          r
          m
          6
          .
          S
          u
          a
          y
          f
          c
          h
          e
          d
          l
          s




                                                               United States Bankruptcy Court
                                                                       Northern District of Georgia
  In re          Michael Patrick Carroll                                                                      Case No.
                                                                                                        ,
                                                                                       Debtor
                                                                                                              Chapter                     7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED           NO. OF          ASSETS                LIABILITIES               OTHER
                                                         (YES/NO)          SHEETS

A - Real Property                                              Yes            1                  71,035.00


B - Personal Property                                          Yes            4                    2,700.00


C - Property Claimed as Exempt                                 Yes            1


D - Creditors Holding Secured Claims                           Yes            1                                          83,803.00


E - Creditors Holding Unsecured                                Yes            1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes            5                                          64,147.34
    Nonpriority Claims

G - Executory Contracts and                                    Yes            1
   Unexpired Leases

H - Codebtors                                                  Yes            1


I - Current Income of Individual                               Yes            1                                                                    2,275.54
    Debtor(s)

J - Current Expenditures of Individual                         Yes            2                                                                    2,194.45
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                    18


                                                                        Total Assets             73,735.00


                                                                                         Total Liabilities              147,950.34




Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                 Case 13-41857-pwb                        Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                Desc Main 6/28/13 2:15PM
                                                                       Document      Page 32 of 58
Form 6 - Statistical Summary (12/07)


          }
          e
          b
          k
          r
          {
          t
          1
          a
          i
          F
          n
          o
          L
          m
          6
          .
          l
          S
          s
          c
          d
          R
          u
          y
          D
          f
          C




                                                               United States Bankruptcy Court
                                                                       Northern District of Georgia
  In re           Michael Patrick Carroll                                                                            Case No.
                                                                                                          ,
                                                                                        Debtor
                                                                                                                     Chapter                7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)                                                      0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                  0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

              Student Loan Obligations (from Schedule F)                                                          0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                  0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                  0.00

                                                                              TOTAL                               0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                       2,275.54

              Average Expenses (from Schedule J, Line 18)                                                     2,194.45

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                        3,002.55


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                 12,768.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                  0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                           64,147.34

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       76,915.34




Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48               Desc Main
                                                                     Document      Page 33 of 58                                          6/28/13 2:15PM

B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Michael Patrick Carroll                                                                           Case No.
                                                                                     Debtor(s)                Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of          20
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 28, 2013                                                      Signature   /s/ Michael Patrick Carroll
                                                                                     Michael Patrick Carroll
                                                                                     Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                   Desc Main
                                                                     Document      Page 34 of 58                                                6/28/13 2:15PM




                                                                     LOCAL FORM 5005-7(c)(3)(B)

 In re      Michael Patrick Carroll                                                                             Case No.
                                                                                     Debtor(s)



             DECLARATION UNDER PENALTY OF PERJURY CONCERNING PETITION, SCHEDULES,
                  SUMMARY OF SCHEDULES, AND STATEMENTS OF FINANCIAL AFFAIRS
            Each of the undersigned declares under penalty of perjury -
            (1) My attorney is filing on my behalf

                                                                 the original of or          the amendment to
                                                                          [check applicable box]
the following papers in the United States Bankruptcy Court for the Northern District of Georgia (check applicable box for papers that
are to be filed simultaneously with this Declaration);

                       *Petition                                                           Schedule F
                       List of all Creditors                                               Schedule G
                       *List of 20 largest creditors                                       Schedule H
                       Schedule A                                                          Schedule I
                       Schedule B                                                          Schedule J
                       Schedule C                                                          *Declaration Concerning Debtor's Schedules
                       Schedule D                                                          *Statement of Financial Affairs
                       Schedule E

            (2) that I have read each of the documents described above;

            (3) that with respect to each document described above marked with an asterisk, I signed the Declaration under penalty of
            perjury attached to or part of such document; and

            (4) that when I signed this Declaration, the foregoing documents were not blank or partially complete; and

            (5) that the information provided in the above documents is true and correct to the best of my knowledge, information and
            belief.


 Date                                                                    Signature   /s/
                                                                                     Michael Patrick Carroll
                                                                                     Debtor

                                                         Attorney's Certification
         The undersigned attorney for the above Debtor(s) certifies to the Court that: (1) the Debtor(s) (or, if the Debtor is an entity, an
authorized agent of the Debtor) will have signed this form and the documents referred to above before I file them; (2) no material
change was made in the documents referred to above after the Debtor(s) (or authorized agent) read and signed the final paper copy of
those documents, including Declarations attached to those documents and the foregoing Declaration; and (3) those documents are the
documents filed with the court simultaneously with this Certification.


 Date:                                                                   /s/
                                                                         Signature of Attorney
                                                                         Wade H. Everett 253067




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
    Case 13-41857-pwb   Doc 1    Filed 06/28/13 Entered 06/28/13 14:13:48   Desc Main
                                Document      Page 35 of 58


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        Banc of America Leasing & Capital
                        231 S. LaSalle Street
                        Chicago, IL 60697


                        Bank of America Leasing
                        Lease Administration Center
                        P.O. Box 405874
                        Atlanta, GA 30384-5874


                        Cap One
                        Po Box 85520
                        Richmond, VA 23285


                        Cap1/Bstby
                        26525 N Riverwoods Blvd
                        Mettawa, IL 60045


                        Chase
                        Po Box 15298
                        Wilmington, DE 19850


                        Citimortgage Inc
                        Po Box 9438
                        Gaithersburg, MD 20898


                        Credit First N A
                        6275 Eastland Rd
                        Brook Park, OH 44142


                        Credit First N.A.
                        P.O. Box 81344
                        Cleveland, OH 44188-0344


                        Eos Cca
                        700 Longwater Dr
                        Norwell, MA 02061


                        Family Savings Credit Union
                        711 East Meighan Blvd.
                        Gadsen, AL 35903


                        Family Savings Credit Union
                        711 East Meighan Blvd.
                        Gadsen, AL 35903
Case 13-41857-pwb   Doc 1    Filed 06/28/13 Entered 06/28/13 14:13:48   Desc Main
                            Document      Page 36 of 58



                    Gecrb/Discount Tire
                    Po Box 981439
                    El Paso, TX 79998


                    Gecrb/Gapdc
                    Po Box 965005
                    Orlando, FL 32896


                    Gecrb/Lowes
                    Po Box 965005
                    Orlando, FL 32896


                    Gecrb/Pearle Vision
                    Po Box 981439
                    El Paso, TX 79998


                    Gecrb/Stein Mart Dc
                    Po Box 981416
                    El Paso, TX 79998


                    Jared-Galleria Of Jwlr
                    375 Ghent Rd
                    Fairlawn, OH 44333


                    Jessica Carroll
                    11 Misty Hollow Court
                    Kingston, GA 30145-2732


                    Mcydsnb
                    9111 Duke Blvd
                    Mason, OH 45040


                    Pepperidge Farm Incorporated
                    595 Westport Avenue
                    Norwalk, CT 06851-4482


                    Publix Employees FCU
                    P.O. Box 1000
                    Lakeland, FL 33802-1000


                    Publix Employees Fed C
                    3005 New Tampa Hwy
                    Lakeland, FL 33815
Case 13-41857-pwb   Doc 1    Filed 06/28/13 Entered 06/28/13 14:13:48   Desc Main
                            Document      Page 37 of 58



                    Sheffield Financial Co
                    2554 Lewisville Clemmons
                    Clemmons, NC 27012


                    Suntrust Mortgage
                    1001 Semmes Avenue
                    Richmond, VA 23224


                    SunTrust Mortgage Inc.
                    Correspondence RVW3003
                    Richmond, VA 23260-6149


                    Td Bank Usa/Targetcred
                    Po Box 673
                    Minneapolis, MN 55440


                    Thd/Cbna
                    Po Box 6497
                    Sioux Falls, SD 57117


                    Wells Fargo Bank
                    Po Box 14517
                    Des Moines, IA 50306


                    Wells Fargo Card Services
                    P.O. Box 6412
                    Carol Stream, IL 60197-6412


                    Wells Fargo Card Services
                    P.O. Box 10347
                    Des Moines, IA 50306-0347
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48           Desc Main
                                                                     Document      Page 38 of 58                                      6/28/13 2:15PM




                                                              United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Michael Patrick Carroll                                                                       Case No.
                                                                                    Debtor(s)             Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: June 28, 2013                                                     /s/ Michael Patrick Carroll
                                                                         Michael Patrick Carroll
                                                                         Signature of Debtor

 Date: June 28, 2013                                                     /s/ Wade H. Everett
                                                                         Signature of Attorney
                                                                         Wade H. Everett 253067
                                                                         Wade H. Everett, P.C.
                                                                         202 S. Erwin Street
                                                                         Suite 101
                                                                         Cartersville, GA 30120-3514
                                                                         770 386 6302 Fax: 770 386 6305




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48               Desc Main
                                                                     Document      Page 39 of 58                                             6/28/13 2:15PM




B8 (Form 8) (12/08)
                                                              United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Michael Patrick Carroll                                                                         Case No.
                                                                                    Debtor(s)               Chapter     7


                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                    Describe Property Securing Debt:
 SunTrust Mortgage Inc.                                                              Personal Home Located at: 11 Misty Hollow Court, Euharlee,
                                                                                     GA 30145-2732

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                               Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                Describe Leased Property:                  Lease will be Assumed pursuant to 11
 -NONE-                                                                                                   U.S.C. § 365(p)(2):
                                                                                                             YES              NO




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48     Desc Main
                                                                     Document      Page 40 of 58                                6/28/13 2:15PM




B8 (Form 8) (12/08)                                                                                                             Page 2




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date June 28, 2013                                                      Signature   /s/ Michael Patrick Carroll
                                                                                     Michael Patrick Carroll
                                                                                     Debtor




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                     Desc Main
                                                                     Document      Page 41 of 58                                                   6/28/13 2:15PM




                                                              United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re       Michael Patrick Carroll                                                                          Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,500.00
             Prior to the filing of this statement I have received                                        $                     1,500.00
             Balance Due                                                                                  $                        0.00

2.     $    306.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Post Confirmation Modification to Add Creditor                                          $100.00
               Post Confirmation Modification - Change Income/Employment                                  $300.00
               Post-Bar Date Review Lien Avoidance                                                 $300.00
               Other Post Bar Date Review Plan Modification                                          $300.00
               Post Confirmation Motion for Relief for Non-Payment or No Insurance                         $300.00
               Post Confirmation Motion for Relief for Payment Disputes                                  $500.00
               Motion to Sell Property of the Estate                                               $500.00
               Motion to Approve Compromise                                                         $500.00
               Application to Employ Professional                                                   $300.00
               Application for Outside Loan/Motion to Refinance                                       $300.00
               Motion to Suspend Payments/Excuse Default                                             $300.00
               Post-Bar Date Trustee Motion to Dismiss Hearings                                         $100.00
               Hardship Discharge Motions                                                          $100.00
               Trustee or Creditor Motions to Modify Plan                                            $100.00
               Post-Confirmation Stay Violations                                                    $300.00
               Objections to Late Claims (Post-Bar Date Review)                                       $100.00
               Motion to Sever/Dismiss as to One Joint Debtor                                         $300.00
               Motion to Re-Open or Vacate Dismissal                                                $500.00
               Motion to Re-Impose/Extend Stay                                                     $500.00
               Audity by USDOJ/US Trustee                                                        $825.00
               Mortgage Lien Stripping                                                          $1000.00
               Motion to Retain Tax Refund                                                        $500.00
               Adversary Proceeding                                                              (hourly)


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                Desc Main
                                                                     Document      Page 42 of 58                                               6/28/13 2:15PM



 In re       Michael Patrick Carroll                                                                 Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                  Appellate Practice                                                             (hourly)
                                                                           CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:
                                                                                Wade H. Everett 253067
                                                                                Wade H. Everett, P.C.
                                                                                202 S. Erwin Street
                                                                                Suite 101
                                                                                Cartersville, GA 30120-3514
                                                                                770 386 6302 Fax: 770 386 6305
                                                                                wade@wadeeverett.com
 Dated:

                                                                                Michael P. Carroll




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                Case 13-41857-pwb                         Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48          Desc Main 6/28/13 2:15PM
                                                                       Document      Page 43 of 58


          }
          u
          b
          l
          k
          e
          1
          {
          9
          D
          0
          c
          a
          r
          t
          i
          o
          n
          f
          C
          m
          p
          w
          h
          R




                                                               United States Bankruptcy Court
                                                                       Northern District of Georgia
  In re         Michael Patrick Carroll                                                                        Case No.
                                                                                                      ,
                                                                                      Debtor
                                                                                                               Chapter               7




                                         DECLARATION OF COMPLIANCE WITH RULE 9009


                                The undersigned is the attorney for the debtor in this case.

                                The undersigned declares under penalty of perjury that the Schedules and Forms filed in this case for the
                                debtor were computer generated using Best Case Bankruptcy and conform with those prescribed by
                                Bankruptcy Rule 9009.



                      Date         June 28, 2013                                       /s/ Wade H. Everett 253067
                                                                                       Signature of attorney
                                                                                       Wade H. Everett 253067
                                                                                       Wade H. Everett, P.C.
                                                                                       202 S. Erwin Street
                                                                                       Suite 101
                                                                                       Cartersville, GA 30120-3514
                                                                                       770 386 6302




Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48      Desc Main
                                                                     Document      Page 44 of 58                                     6/28/13 2:15PM

B 201A (Form 201A) (11/12)



                                                     UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF GEORGIA
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48     Desc Main
                                                                     Document      Page 45 of 58                                    6/28/13 2:15PM

Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                   Desc Main
                                                                     Document      Page 46 of 58                                                6/28/13 2:15PM




B 201B (Form 201B) (12/09)
                                                              United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Michael Patrick Carroll                                                                           Case No.
                                                                                  Debtor(s)                   Chapter        7

                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                        UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                        Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Michael Patrick Carroll                                                            X /s/ Michael Patrick Carroll                June 28, 2013
 Printed Name(s) of Debtor(s)                                                         Signature of Debtor                        Date

 Case No. (if known)                                                                X
                                                                                        Signature of Joint Debtor (if any)       Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                         Desc Main
                                                                     Document      Page 47 of 58                                                         6/28/13 2:15PM

  B22A (Official Form 22A) (Chapter 7) (04/13)
 In re  Michael Patrick Carroll
                           Debtor(s)                                                  According to the information required to be entered on this statement
 Case Number:                                                                           (check one box as directed in Part I, III, or VI of this statement):
                      (If known)                                                              The presumption arises.
                                                                                              The presumption does not arise.
                                                                                              The presumption is temporarily inapplicable.


                                 CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                            AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in Part I applies,
joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete separate statements if they
believe this is required by § 707(b)(2)(C).

                                                Part I. MILITARY AND NON-CONSUMER DEBTORS
             Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
             Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
             VIII. Do not complete any of the remaining parts of this statement.
    1A
                Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
             38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
             101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
             Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B       Do not complete any of the remaining parts of this statement.
                 Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
             Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
             Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
             2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
             at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
             days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
             required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
             temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
             are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
             which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
             before your exclusion period ends.
                Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C       that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
             National Guard

                                      a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                       I remain on active duty /or/
                                                       I was released from active duty on       , which is less than 540 days before this bankruptcy case was
                                      filed;

                                                   OR

                                      b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                             I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                           540 days before this bankruptcy case was filed.




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                Desc Main
                                                                     Document      Page 48 of 58                                               6/28/13 2:15PM

  B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                           2

                        Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
             a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
             b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
                "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
     2          purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income")
                for Lines 3-11.
             c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                   ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             All figures must reflect average monthly income received from all sources, derived during the six          Column A          Column B
             calendar months prior to filing the bankruptcy case, ending on the last day of the month before
             the filing. If the amount of monthly income varied during the six months, you must divide the               Debtor's          Spouse's
             six-month total by six, and enter the result on the appropriate line.                                       Income            Income

     3       Gross wages, salary, tips, bonuses, overtime, commissions.                                         $        2,129.80 $             872.75
             Income from the operation of a business, profession or farm. Subtract Line b from Line a and
             enter the difference in the appropriate column(s) of Line 4. If you operate more than one
             business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
             not enter a number less than zero. Do not include any part of the business expenses entered on
     4       Line b as a deduction in Part V.
                                                                         Debtor                 Spouse
              a.     Gross receipts                               $               0.00 $                 0.00
              b.     Ordinary and necessary business expenses $                   0.00 $                 0.00
              c.     Business income                              Subtract Line b from Line a                 $               0.00 $                0.00
             Rent and other real property income. Subtract Line b from Line a and enter the difference in
             the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
             part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                 Debtor                Spouse
              a.    Gross receipts                              $                0.00 $                0.00
              b.    Ordinary and necessary operating expenses $                  0.00 $                0.00
              c.    Rent and other real property income         Subtract Line b from Line a                 $                 0.00 $                0.00
     6       Interest, dividends, and royalties.                                                                $             0.00 $                0.00
     7       Pension and retirement income.                                                                     $             0.00 $                0.00
             Any amounts paid by another person or entity, on a regular basis, for the household
             expenses of the debtor or the debtor's dependents, including child support paid for that
     8       purpose. Do not include alimony or separate maintenance payments or amounts paid by your
             spouse if Column B is completed. Each regular payment should be reported in only one column;
             if a payment is listed in Column A, do not report that payment in Column B.                        $             0.00 $                0.00
             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
             However, if you contend that unemployment compensation received by you or your spouse was a
             benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9       or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security Act Debtor $                0.00 Spouse $           0.00 $               0.00 $                0.00
             Income from all other sources. Specify source and amount. If necessary, list additional sources
             on a separate page. Do not include alimony or separate maintenance payments paid by your
             spouse if Column B is completed, but include all other payments of alimony or separate
             maintenance. Do not include any benefits received under the Social Security Act or payments
             received as a victim of a war crime, crime against humanity, or as a victim of international or
    10       domestic terrorism.
                                                                        Debtor                   Spouse
              a.                                                  $                      $
              b.                                                  $                      $
             Total and enter on Line 10                                                                         $             0.00 $                0.00
    11       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
             Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).               $              2,129.80 $             872.75



Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                Desc Main
                                                                     Document      Page 49 of 58                                               6/28/13 2:15PM

  B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                           3

             Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12       Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
             the amount from Line 11, Column A.                                                                    $                         3,002.55

                                                Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
             enter the result.                                                                                                     $        36,030.60
             Applicable median family income. Enter the median family income for the applicable state and household size.
    14       (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
              a. Enter debtor's state of residence:                    GA      b. Enter debtor's household size:       3           $        56,189.00
             Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15           The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
                 top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                 The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                         Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)
                         Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16       Enter the amount from Line 12.                                                                                        $
             Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
             Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
             dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
             spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
             amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17       not check box at Line 2.c, enter zero.
              a.                                                                             $
              b.                                                                             $
              c.                                                                             $
              d.                                                                             $
             Total and enter on Line 17                                                                                            $
    18       Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                           $

                                         Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                   Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
             National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
             Standards for Food, Clothing and Other Items for the applicable number of persons. (This information is available
   19A       at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable number of persons is the number
             that would currently be allowed as exemptions on your federal income tax return, plus the number of any
             additional dependents whom you support.                                                                              $
             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
             who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
             older. (The applicable number of persons in each age category is the number in that category that would currently
             be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
   19B
             you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
             Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
             c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                          Persons under 65 years of age                         Persons 65 years of age or older
              a1.     Allowance per person                            a2.      Allowance per person
              b1.     Number of persons                               b2.      Number of persons
              c1.     Subtotal                                        c2.      Subtotal                                           $
             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
             Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   20A       available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support.                                                                           $



Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                 Desc Main
                                                                     Document      Page 50 of 58                                                 6/28/13 2:15PM

  B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                             4

             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
             Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   20B       debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do
             not enter an amount less than zero.
              a.    IRS Housing and Utilities Standards; mortgage/rental expense $
              b.    Average Monthly Payment for any debts secured by your
                    home, if any, as stated in Line 42                               $
              c.    Net mortgage/rental expense                                      Subtract Line b from Line a.                    $
             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
             20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21       Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
             contention in the space below:
                                                                                                                                     $
             Local Standards: transportation; vehicle operation/public transportation expense.
             You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
             vehicle and regardless of whether you use public transportation.
             Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
             included as a contribution to your household expenses in Line 8.
   22A
                   0     1        2 or more.
             If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
             Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
             Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
             Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $
             Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
             for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   22B       you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
             Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
             court.)                                                                                                                $
             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
             you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
             vehicles.)
                   1     2 or more.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
             Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter
             the result in Line 23. Do not enter an amount less than zero.
              a.       IRS Transportation Standards, Ownership Costs                 $
                       Average Monthly Payment for any debts secured by Vehicle
              b.       1, as stated in Line 42                                       $
              c.       Net ownership/lease expense for Vehicle 1                     Subtract Line b from Line a.                    $
             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
             the "2 or more" Box in Line 23.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    24       Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter
             the result in Line 24. Do not enter an amount less than zero.
              a.       IRS Transportation Standards, Ownership Costs                 $
                       Average Monthly Payment for any debts secured by Vehicle
              b.       2, as stated in Line 42                                       $
              c.       Net ownership/lease expense for Vehicle 2                     Subtract Line b from Line a.                    $
             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    25       state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
             security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
               Case 13-41857-pwb                          Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48                                    Desc Main
                                                                       Document      Page 51 of 58                                                                6/28/13 2:15PM

    B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                                            5

                Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
      26        deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
                Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $
                Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
      27        life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
                any other form of insurance.                                                                                                          $
                Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
      28        pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
                include payments on past due obligations included in Line 44.                                                                         $
                Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
      29        the total average monthly amount that you actually expend for education that is a condition of employment and for
                education that is required for a physically or mentally challenged dependent child for whom no public education
                providing similar services is available.                                                                          $

      30        Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
                childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                         $
                Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
      31        health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
                insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
                include payments for health insurance or health savings accounts listed in Line 34.                                                   $
                Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
      32        actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
                pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
                welfare or that of your dependents. Do not include any amount previously deducted.                                                    $
      33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                   $

                                                 Subpart B: Additional Living Expense Deductions
                                        Note: Do not include any expenses that you have listed in Lines 19-32
                Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
                the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
                dependents.
      34
                 a.         Health Insurance                                                $
                 b.         Disability Insurance                                            $
                 c.         Health Savings Account                                          $                                                         $
                Total and enter on Line 34.
                If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
                below:
                $
                Continued contributions to the care of household or family members. Enter the total average actual monthly
      35        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
                ill, or disabled member of your household or member of your immediate family who is unable to pay for such
                expenses.                                                                                                                             $
                Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
      36        actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
                other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                          $
                Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
      37        Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
                trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
                claimed is reasonable and necessary.                                                                            $
                Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
                actually incur, not to exceed $156.25* per child, for attendance at a private or public elementary or secondary
      38        school by your dependent children less than 18 years of age. You must provide your case trustee with
                documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
                necessary and not already accounted for in the IRS Standards.                                                                         $
*   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48                  Desc Main
                                                                     Document      Page 52 of 58                                                 6/28/13 2:15PM

  B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                             6

             Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
             expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39       Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
             or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
             reasonable and necessary.                                                                                               $

    40       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
             financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                             $
    41       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                              $

                                                           Subpart C: Deductions for Debt Payment
             Future payments on secured claims. For each of your debts that is secured by an interest in property that you
             own, list the name of the creditor, identify the property securing the debt, state the Average Monthly Payment, and
    42       check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
             scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
             case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly
             Payments on Line 42.
                    Name of Creditor                   Property Securing the Debt               Average Monthly Does payment
                                                                                                         Payment include taxes
                                                                                                                    or insurance?
               a.                                                                             $                        yes no
                                                                                                 Total: Add Lines                    $
             Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
             motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43       your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
             payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
             sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
             the following chart. If necessary, list additional entries on a separate page.
                    Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
               a.                                                                              $
                                                                                                               Total: Add Lines      $
             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44       priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
             not include current obligations, such as those set out in Line 28.                                                      $
             Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the following
             chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

              a.       Projected average monthly chapter 13 plan payment.                    $
    45        b.       Current multiplier for your district as determined under schedules
                       issued by the Executive Office for United States Trustees. (This
                       information is available at www.usdoj.gov/ust/ or from the clerk of
                       the bankruptcy court.)                                                x
              c.       Average monthly administrative expense of chapter 13 case             Total: Multiply Lines a and b           $
    46       Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                              $

                                                          Subpart D: Total Deductions from Income
    47       Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                             $

                                          Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48       Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                  $
    49       Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                       $
    50       Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                        $

    51       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
             result.                                                                                                                 $




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
               Case 13-41857-pwb                          Doc 1          Filed 06/28/13 Entered 06/28/13 14:13:48                                          Desc Main
                                                                        Document      Page 53 of 58                                                                       6/28/13 2:15PM

    B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                                                    7

                Initial presumption determination. Check the applicable box and proceed as directed.
                   The amount on Line 51 is less than $7,475*. Check the box for "The presumption does not arise" at the top of page 1 of this
                statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
      52
                   The amount set forth on Line 51 is more than $12,475* Check the box for "The presumption arises" at the top of page 1 of this
                statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                      The amount on Line 51 is at least $7,475*, but not more than $12,475*. Complete the remainder of Part VI (Lines 53 through 55).
      53        Enter the amount of your total non-priority unsecured debt                                                                                    $
      54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                        $
                Secondary presumption determination. Check the applicable box and proceed as directed.
                    The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page 1
      55        of this statement, and complete the verification in Part VIII.
                   The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
                of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                           Part VII. ADDITIONAL EXPENSE CLAIMS
                Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                you and your family and that you contend should be an additional deduction from your current monthly income under §
                707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
                each item. Total the expenses.
      56
                         Expense Description                                                                                                     Monthly Amount
                 a.                                                                                                        $
                 b.                                                                                                        $
                 c.                                                                                                        $
                 d.                                                                                                        $
                                                                          Total: Add Lines a, b, c, and d                  $

                                                                          Part VIII. VERIFICATION
                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
                must sign.)
      57                      Date: June 28, 2013                                           Signature: /s/ Michael Patrick Carroll
                                                                                                         Michael Patrick Carroll
                                                                                                                    (Debtor)




*   Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48   Desc Main
                                                                     Document      Page 54 of 58                              6/28/13 2:15PM

  B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                          8


                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 12/01/2012 to 05/31/2013.

Line 3 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Pay Advices April partial
Income by Month:
 6 Months Ago:                                  12/2012                 $1,985.58
 5 Months Ago:                                  01/2013                 $2,703.22
 4 Months Ago:                                  02/2013                 $1,987.33
 3 Months Ago:                                  03/2013                 $2,035.29
 2 Months Ago:                                  04/2013                 $2,336.82
 Last Month:                                    05/2013                 $1,730.58
                                Average per month:                      $2,129.80




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                    Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48   Desc Main
                                                                     Document      Page 55 of 58                              6/28/13 2:15PM

  B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                          9

                                          Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 12/01/2012 to 05/31/2013.

Line 3 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Pay Advices
Income by Month:
 6 Months Ago:                                  12/2012                  $954.12
 5 Months Ago:                                  01/2013                  $489.69
 4 Months Ago:                                  02/2013                 $1,045.02
 3 Months Ago:                                  03/2013                  $880.02
 2 Months Ago:                                  04/2013                  $900.18
 Last Month:                                    05/2013                  $967.46
                                Average per month:                       $872.75




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                    Best Case Bankruptcy
            Case 13-41857-pwb                         Doc 1           Filed 06/28/13 Entered 06/28/13 14:13:48               Desc Main
                                                                     Document      Page 56 of 58                                            6/28/13 2:15PM




                                                              United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Michael Patrick Carroll                                                                           Case No.
                                                                                     Debtor(s)                Chapter    7



                                 STATEMENT REGARDING PAY STUBS (11 U.S.C. §521(A)(1))


        I,    , hereby certify that during the 60 day period preceding the filing of my bankruptcy petition in this case, I did
not receive pay stubs from an employer because:


            I am unemployed; or


            I am self-employed; or


            My employer did not provide pay stubs.


            Other




 Date June 28, 2013                                                      Signature   /s/ Michael Patrick Carroll
                                                                                     Michael Patrick Carroll
                                                                                     Debtor




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
      Case 13-41857-pwb                        Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48          Desc Main
                                                            Document      Page 57 of 58                                               6/28/13 2:15PM




                                                Disclosure Pursuant to 11 U.S.C. §527(a)(2)

      You are notified:

      1. All information that you are required to provide with a petition and thereafter during a case
         under the Bankruptcy Code is required to be complete, accurate, and truthful.

      2. All assets and all liabilities are required to be completely and accurately disclosed in the
         documents filed to commence the case. Some places in the Bankruptcy Code require that you
         list the replacement value of each asset. This must be the replacement value of the property at
         the date of filing the petition, without deducting for costs of sale or marketing, established
         after a reasonable inquiry. For property acquired for personal, family, or household use,
         replacement value means the price a retail merchant would charge for property of that kind,
         considering the age and condition of the property.

      3. The following information, which appears on Official Form 22, Statement of Current
         Monthly Income, is required to be stated after reasonable inquiry: current monthly income,
         the amounts specified in section 707(b)(2), and, in a case under chapter 13 of the Bankruptcy
         Code, disposable income (determined in accordance with section 707(b)(2)).

      4. Information that you provide during your case may be audited pursuant to provisions of the
         Bankruptcy Code. Failure to provide such information may result in dismissal of the case
         under this title or other sanction, including criminal sanctions.

      The aforesaid information has been provided not later than three (3) business days after the first
      date on which the debt relief agency first offered to provide bankruptcy assistance services to the
      assisted person(s).

Date June 28, 2013                                                   Signature   /s/ Michael Patrick Carroll
                                                                                 Michael Patrick Carroll
                                                                                 Debtor




      Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                       Best Case Bankruptcy
      Case 13-41857-pwb                        Doc 1         Filed 06/28/13 Entered 06/28/13 14:13:48          Desc Main
                                                            Document      Page 58 of 58                                               6/28/13 2:15PM




                     IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
                      SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION
                                          PREPARER.

      If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to
      represent you, or you can get help in some localities from a bankruptcy petition preparer who is
      not an attorney. THE LAW REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION
      PREPARER TO GIVE YOU A WRITTEN CONTRACT SPECIFYING WHAT THE
      ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
      MUCH IT WILL COST. Ask to see the contract before you hire anyone.

      The following information helps you understand what must be done in a routine bankruptcy case
      to help you evaluate how much service you need. Although bankruptcy can be complex, many
      cases are routine.

      Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for
      different forms of debt relief available under the Bankruptcy Code and which form of relief is
      most likely to be beneficial for you. Be sure you understand the relief you can obtain and its
      limitations. To file a bankruptcy case, documents called a Petition, Schedules, and Statement of
      Financial Affairs, and in some cases a Statement of Intention, need to be prepared correctly and
      filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once
      your case starts, you will have to attend the required first meeting of the creditors where you may
      be questioned by a court official called a 'trustee' and by creditors.

      If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You
      may want help deciding whether to do so. A creditor is not permitted to coerce you into
      reaffirming your debts.

      If you choose to file a chapter 13 case in which you repay your creditors what you can afford
      over 3 to 5 years, you may also want help with preparing your chapter 13 plan and with the
      confirmation hearing on your plan which will be before a bankruptcy judge.

      If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13,
      you will want to find out what should be done from someone familiar with that type of relief.

      Your bankruptcy case may also involve litigation. You are generally permitted to represent
      yourself in litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers,
      can give you legal advice.

Date June 28, 2013                                                   Signature   /s/ Michael Patrick Carroll
                                                                                 Michael Patrick Carroll
                                                                                 Debtor




      Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                       Best Case Bankruptcy
